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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

SAIFULLAH PARACHA,                           :
                                             :
              Petitioner,                    :
                                             :       Civil Action No. 04-2022 (PLF)
                                             :
       vs.                                   :
                                             :
DONALD J. TRUMP, et al.,                     :
                                             :
              Respondents.                  :

  MOTION TO ALLOW REVIEW OF CLASSIFIED AMENDED FACTUAL RETURN
   OR TO COMPEL PRODUCTION OF UNCLASSIFIED AMENDED FACTUAL
                            RETURN

       Now comes the Petitioner, Saifullah Paracha, and respectfully moves this Court to allow

undersigned counsel to review the classified version of the Amended Factual Return (Doc. 469,

Notice) with Mr. Paracha in the secure attorney-client visiting room at the prison camp in

Guantanamo Bay, Cuba. The reason for this request is three-fold. First, undersigned counsel has

been unable to get an unclassified version of the Return from the government to date. Second,

undersigned counsel cannot complete Mr. Paracha’s Traverse without reviewing the contents of

the Amended Return with him. And third, the government is not in compliance with either the

original or amended Case Management Orders, which set out the deadline for producing an

unclassified Return. In the alternative, Mr. Paracha moves this Court to compel the government to




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produce an unclassified version of the Amended Factual Return within twenty-one days of this

filing..

           The government filed its Amended Factual Return on July 30, 2017. (Doc. 469, Notice).

In the fall of 2017, undersigned counsel requested an unclassified version of the Return to review

with Mr. Paracha – as one had not yet been produced. At that time, the government advised that

an unclassified version would be produced by the end of 2017. In following up with the

government in November 2017, counsel was again advised the unclassified Return was

forthcoming. The unclassified Return was not produced.

           Undersigned counsel reached out to the government again in late January 2018 to inquire

on the status of the unclassified Return. At that time, the government advised that there were delays

in its production due to classification-review authorities being overwhelmed with other habeas

matters and declassification review demands. The government advised that a miscommunication

between attorneys and classification review authorities may also have contributed to the delay. At

that time, the government was unable to say when the Return would be produced to undersigned

counsel. To date, undersigned counsel has still not received an unclassified version of the Return,

and the request for its production was more than six months ago.

           Undersigned counsel has another visit with Mr. Paracha scheduled for the week of March

19, 2018. Requests to travel to the base at GTMO require at least six weeks’ notice. Without a

copy of the Return to review with Mr. Paracha, counsel cannot effectively complete the Traverse

on his behalf. Mr. Paracha’s assistance is central in understanding and responding to the specific

allegations in the Return. Further, Mr. Paracha has a right as a petitioner in a habeas proceeding to

see the Return’s contents. The government took a significant amount of time in supplementing its

disclosures after Mr. Paracha’s petition was unstayed, as well as further time to amend its Factual


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Return. Mr. Paracha is the oldest detainee at GTMO at seventy years old, and he has serious health

conditions. Legal and practical realities dictate that time is of the essence.

       Finally, the November 6, 2008 Case Management Order requires the government to

produce an unclassified factual return within fourteen days of filing the return. In re: Guantanamo

Bay Detainee Litigation, Case No. 1:10CV1020, Doc. 689, CMO, p. 2. In December 2008, this

Court amended that Case Management Order to provide that the government was required to file

an unclassified version of the return within twenty-one days of filing. In re: Guantanamo Bay

Detainee Litigation, Case No. 1:05CV993, Doc. 103, Am. CMO., p. 2). The government has not

met the deadline required by this Court. Therefore, Mr. Paracha respectfully request that this Court

issue an order allowing him to review the classified version of the Amended Factual Return with

his attorneys in a secure visit room at Guantanamo Bay. In the alternative, Mr. Paracha respectfully

moves this Court for an order compelling the government to produce an unclassified version of

the Amended Factual Return within twenty-one days of this filing.

                                               Respectfully submitted,

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                                               Federal Public Defender

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on February 23, 2018, a copy of the foregoing Motion was filed

electronically. Notice of this filing will be sent by operation of the Court’s electronic filing system

to all parties indicated on the electronic receipt. All other parties will be served by regular U.S.

mail.

                                               /s/ Claire C. Curtis
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                                               Attorney at Law

                                               Counsel for Petitioner




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